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                         UNITED STATES DISTRICT COURT
                            DISTRICT OF MINNESOTA
                           Criminal No. 17-64 (DWF/KMM)


 UNITED STATES OF AMERICA,                  )
                                            )
                      Plaintiff,            ) GOVERNMENT’S OBJECTIONS
                                            ) TO OCTOBER 27, 2018 ORDER
               v.                           )
                                            )
 EDWARD S. ADAMS,                           )
                                            )
                      Defendant.            )

       The United States of America, by and through its attorneys, Erica H. MacDonald,

United States Attorney for the District of Minnesota, and John Kokkinen and Joseph H.

Thompson, Assistant United States Attorneys, respectfully submits this objection to

Magistrate Judge Katherine M. Menendez’s October 27, 2018 Order [Dkt. 225] denying in

part and granting in part the United States’ motion contesting the application of privilege

[Dkt. 192]. Specifically, the government objects to Judge Menendez’s denial of the

government’s privilege challenge regarding seven email communications between Mr.

Adams and his accountants, the Murry firm (hereinafter, “the Murry emails”).

       In the Order, Judge Menendez determined that (1) the Murry emails were privileged

because they assisted Mr. Adams’s counsel, Mr. Brever, in the provision of legal advice

regarding tax-related matters; (2) the filing of amended returns did not operate as a waiver

as to any of the information contained within the Murry emails because all of that

information constituted “unpublished expressions that were not later revealed on the

amended returns”: and (3) the privilege was not vitiated by the crime-fraud exception
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because the record failed to show that “Mr. Adams obtained Mr. Brever’s advice and

consulted with [the Murry firm] with the intent to commit a fraud or crime by

misrepresenting that he earned income from stocks instead of the sale of warrants.”

October 27, 2018 Order at 2-8.

      Because the practical effect of Judge Menendez’s ruling is suppression of the Murry

emails, the government submits that its objections are subject to de novo review. See Fed.

R. Crim. P. 59(a); 28 U.S.C. § 636(b)(1). Rather than repeat all of the arguments that were

made to Judge Menendez, the government respectfully requests that the Court consider de

novo all of those previously made arguments regarding the Murry emails. See [Dkt. 172]

at 64-76, [Dkt. 192] at 2-3, [Dkt. 217] at 2-28. In addition, the government respectfully

submits the following arguments addressing specific aspects of Judge Menendez’s ruling.

      First, Judge Menendez’s Order did not address the government’s arguments

regarding the primary purpose of the Murry emails. Although the Order ultimately

concluded that the Murry emails assisted Mr. Brever in the provision of legal advice, the

Order never addressed whether the Murry emails were also for another purpose, namely,

the preparation of amended tax returns. Nor did the Order address which of those two

apparent purposes was the primary or predominant purpose. As the government noted in

its submissions, persuasive authority from outside the Eighth Circuit, which itself appears

never to have addressed the issue, holds that the privilege applies only if the

communications were for the sole or primary purpose of obtaining legal advice. See In re

Grand Jury Proceedings, 220 F.3d 568 (7th Cir. 2000); United States v. Frederick, 182

F.3d 496 (7th Cir. 1999); United States v. Lawless, 709 F.2d 485, 487 (7th Cir. 1983).

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       Second, in rejecting the government’s waiver argument, Judge Menendez relied

heavily on the principle from United States v. Cote, 456 F.2d 142 (8th Cir. 1972), that

although the filing of amended returns does operate as a waiver as to the information on

the amended returns, as well as the underlying details that support that information, the

wavier does not extend to “unpublished expressions which are not part of the data revealed

on the tax returns.” Order at 3-4. As the government noted in its reply brief [Dkt. 217],

the figures on the amended returns for the gains realized from selling Apollo securities find

no support anywhere in the schedules attached to those returns. Nor do they find any

support in any of the workpapers that were produced by the Murry firm as being

nonprivileged. The amended returns report $991,750 in long-term gains in 2008, $160,250

in long-term gains in 2009, and $280,050 in long-term gains in 2010, but there is nothing

showing the details of how those numbers were calculated. In other words, it would seem

that Mr. Adams has claimed privilege over all of the underlying details of the transactions

that gave rise to those previously unreported gains under the idea that all of those

underlying details constitute “unpublished expressions.”

       Respectfully, it simply cannot be the case that Mr. Adams can properly claim

privilege over all of the underlying details that support the figures on his amended returns.

When tax returns are prepared, there are a number of workpapers and supporting schedules

that are used to generate the figures reflected on the various line items of the returns. But

often, those workpapers and schedules are not filed along with the returns. They are,

however, retained to support the figures on the returns if a question ever arises as to the

accuracy of the figures or the tax treatment claimed by the taxpayer. The fact that they are

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not attached to the returns does not mean that they are “unpublished expressions not part

of the data revealed on the tax returns.” (Emphasis added.) To the contrary, they are part

of the data revealed on the tax returns. Not only are they part of the data, they are the very

basis for the data revealed on the tax returns. In other words, the “unpublished expressions”

concept has two aspects to it: the expressions must be unpublished and they must not be a

part of the data revealed on the tax returns. Both aspects must be satisfied. Here, if the

Murry emails contain underlying details that form the basis for the totals reported on the

tax returns and the tax treatments claimed for those totals, then they are part of the data

revealed on the returns even if they are unpublished.1

       Third, in rejecting the government’s crime-fraud argument, Judge Menendez

determined that the record failed to show that Mr. Adams had fraudulent intent in using the

services of Mr. Brever and the Murry firm to file amended returns. Judge Menendez did


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  One could imagine a scenario in which a taxpayer communicates with his attorney and/or
Kovel accountant about transactions that gave rise to income and the communication goes
into specifics of the transaction that do not affect mathematical calculations or tax
treatments. For example, the communications could include discussion about what
representations were made to an investor during a transaction, which could be relevant to
the legal question of whether there is any potential civil or criminal liability but would not
affect how the gains ought to be reported on a tax return. The discussion about those
specifics of the transaction would fit within the concept of “unpublished expressions not
part of the data revealed on the tax returns,” and protecting from disclosure those portions
of the discussion would serve the salutary principles of the privilege. Here, by contrast, if
the Murry emails include any specifics about when the warrants were acquired, when they
were exercised, what the exercise price was, when the resulting stocks were sold, and what
the sale prices were—and it seems that the Murry emails must have included such
information to enable Murry to prepare the returns—such specifics formed the basis for the
mathematical calculations and tax treatment on the returns. That being so, there can be no
expectation of confidentiality in the details underlying those calculations and claimed tax
treatment.

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not address, however, the disparity between the draft returns that were produced by the

Murry firm and the final versions that were actually filed. Compare Gov’t Exs. 31-33 with

Gov’t Ex. 43 at ECL-00030662-671 and ECL-00031611-620. That disparity shows that

the misrepresentation that the transactions involved stocks rather than warrants, which was

absent from the draft versions but was explicitly incorporated into the final versions that

were actually filed, reduced Mr. Adams’s tax obligation by at least $200,000. Employing

a lie about the nature of the transactions in order to reduce a tax obligation by $200,000 is

the epitome of fraudulent intent.


Dated: November 10, 2018
                                                  Respectfully submitted,

                                                  ERICA H. MACDONALD
                                                  United States Attorney

                                                  /s/ John Kokkinen

                                          BY:     JOHN KOKKINEN
                                                  JOSEPH H. THOMPSON
                                                  Assistant U.S. Attorneys




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